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Honorable Judge Ronnie L White

United States District Court for the Eastern District of Missouri
11] South Tenth Street ,
St. Louis, Missouri, 63102

Dear Judge White,

Thave known Mohammed Almuttan for more than twenty years, and have had the opportunity to
know Mohammed on both a professional and social basis. . :

T have always known Mohammed to be hardworking and scrupulously conscientious in his
. : oe
businesses. He performed some of the labor himself and employed so many minorities in A

is several
stores with the help of his brother, i

Mohammed is a sincerely religious man. His faith is not showy or overdone, and did not came
about merely because of his recent trouble with the law. He has been a devoted husband and father since I
have known him, and his efforts in labor and work always- (he always told me nothing is free). His best
words after getting his green card were “This is the greatest country and I’m proud to be in America”.

One of the things I’ve noticed and admired about Mohammed is his interest in other people and
the ability to make people feel comfortable and enjoy themselves and Pive rather than receive, and he’s
been able to maintain this ability in spite of the horrible distraction caused by this case, | didn’t realize
how truly modest Mohammed was until recently when I was asked to be a part and tend to:his care with
two other surgeons and therapists at Bames Hospital after he fell victim to a gunshot wou d.

This is a significant achievement to overcome for an immigrant who escaped multiple injuries
and loss of his father during the war and hardship in Palestine, to enter into the US with his brother and
learn the value of hard work and the meaning of the phrase “nothing is free”, He has certaihly had several
opportunities to tell me about his experiences but he simply isn’t one to boast about himself.

Jn closing, 1 am proud to consider Mohammed a friend. | would hope that you will see fit to

exercise whatever discretion you may have in sentencing to do so favorably to him, his wife, and young
children.

Very ¥ yours, a“
Nadim T. ‘Nasrallah M.S, D.C., M.A.
